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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

     DONALD DUNCAN,                              §
                                                 §
                 Plaintiff,                      §    Case No. 2:16-CV-01121-JRG-RSP
                                                 §
     v.                                          §
                                                 §
     E. W. WYLIE CORPORATION,                    §
                                                 §
                 Defendant.                      §

                                            ORDER
 .
          Before the Court are Defendant’s Motion to Change Venue (Dkt. No. 5), Defendant’s

 Motion to Amend the Motion to Change Venue (Dkt. No. 11), and Defendant’s Supplemental

 Motion to Change Venue (Dkt. No. 19). Defendant’s motion to amend (Dkt. No. 11) is

 GRANTED. After considering the relevant venue factors, the Court finds that the Tyler division

 would be clearly more convenient than this division. See In re Volkswagen of Am., Inc., 545 F.3d

 304, 312 (5th Cir. 2008) (“Volkswagen II”); In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir.

 2004) (“Volkswagen I”). Accordingly, Defendant’s Motions to Change Venue (Dkt. Nos. 5 and

 19) are GRANTED. The clerk is directed to immediately transfer this action to the Tyler division.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 1st day of May, 2017.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
